     Case 8:20-cv-02722-KKM-AAS Document 22 Filed 02/24/21 Page 1 of 5 PageID 84


                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

SHURLA LEWANDOWSKI,

       Plaintiff,

v.                                                         Case No. 8:20-cv-2722-KKM-AAS

TWINS INN & APARTMENTS, LLC, GULF
WINDS DR. APARTMENTS, LLC D/B/A PALM
GROVE INN, VIVIAN PAK, LIMIN SUN, and
JIANXUN SUN A/K/A JOHN SUN,

      Defendants.
___________________________________

                    CASE MANAGEMENT AND SCHEDULING ORDER

         Having considered the positions of the parties as set forth in their Case Management Report,
 see Fed. R. Civ. P. 26(f) and Local Rule 3.02(c), the Court enters this Case Management and Scheduling
 Order whose provisions will be strictly enforced. Accordingly, it is ORDERED:

        1.   Parties are directed to meet the deadlines below:

                Deadline for Initial Disclosures                  March 5, 2021
                Third Party Joinder / Amend Pleading              March 12, 2021
                Mediator Selection Deadline                       March 19, 2021
                Plaintiff Expert Disclosure                        April 30, 2021
                Defendant Expert Disclosure                        May 28, 2021
                Discovery Cut-Off                                  June 15, 2021
                Mediation Deadline                                 June 25, 2021
                Dispositive and Daubert Motions                    July 23, 2021
                Motions In Limine                                November 4, 2021
                Joint Pretrial Statement                         November 18, 2021
                Pretrial Conference                              December 2, 2021
                Trial Term                                         January 2022

        2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in
             Fed. R. Civ. P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06
             concerning Final Pretrial Procedures, as supplemented herein at ¶ 6. Parties are advised
             to review the amendments to the Rules of Civil Procedure regarding discovery,
             which became effective December 1, 2020.
Case 8:20-cv-02722-KKM-AAS Document 22 Filed 02/24/21 Page 2 of 5 PageID 85


  3.   This case is referred to court-annexed mediation in accordance with the rules governing
       mediation set forth in Chapter Four of the Local Rules. The parties shall select a Mediator,
       and counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of
       mediation. The list of certified mediators is available on the internet at
       www.flmd.uscourts.gov under “For Lawyers/Mediation and Settlement.” The list is not
       exclusive, and any certified mediator is permissible. Lead counsel must file a Notice of
       Mediator Selection and Scheduling of Mediation which (a) identifies the selected
       Mediator and includes address, telephone, and facsimile information, and (b) sets the
       time, date, and place for the mediation conference by the above-designated date. If the
       parties fail to select a Mediator or do not notify the Court of such selection by the above-
       designated date, the Court will sua sponte and without further notice select an individual to
       serve as Mediator and issue the appointment. The mediation conference may be
       conducted any time on or before the above-designated date.

  4.   Last Date to Mediate: The parties shall complete the mediation conference on or before
       the mediation date set forth earlier in the above table. Neither the mediator nor the
       parties have authority to continue the mediation conference beyond this date except
       on express order of the Court. In any complex case or case involving multiple parties,
       the mediator has the authority to conduct the mediation in a series of sessions and in groups
       of parties so that mediation is complete by the last date to mediate.

  5.   Parties will please note that motions to amend any pleading or a motion for continuance
       of any pretrial conference, hearing or trial filed after issuance of this Case Management
       and Scheduling Order are disfavored. See Fed. R. Civ. P. 16(b)(4); Local Rule 3.08(a).

  6.   A Pretrial Conference will be held before the undersigned in Courtroom 13B, 801
       North Florida Avenue, Tampa, Florida, on December 2, 2021, at 9:00 a.m. Parties
       are directed to meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P.
       26(a)(3) and to adhere to all requirements in Local Rule 3.06 concerning final pretrial
       procedures. The parties shall file a joint Pretrial Statement two weeks before the above-
       referenced pretrial conference date. Failure to do so may result in the imposition of
       sanctions. The parties shall file any motions in limine four weeks before the Pretrial
       Conference date and any response to a motion in limine two weeks before the Pretrial
       Conference date. Counsel who will act as lead trial counsel in the case and who is vested
       with full authority to make and solicit disclosure and agreements touching all matters
       pertaining to the trial must attend the Pretrial Conference.

  7.   This case is set for a Jury Trial during the term commencing January 3, 2022, before the
       undersigned. This January 2022 trial term shall include the entire month. Estimated
       length of trial: 3 days.

  8.   CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28 U.S.C.
       636(c) and Fed. R. Civ. P. 73, the parties may consent to have a United States Magistrate
       Judge conduct any or all further proceedings in this case, including the trial. Parties are
       advised that a magistrate judge can provide certainty and flexibility in scheduling,

                                              2
Case 8:20-cv-02722-KKM-AAS Document 22 Filed 02/24/21 Page 3 of 5 PageID 86


       including a date certain for trial—unlike the district court calendar that assigns only a
       trial month and is subject to frequent changes due to the Court’s criminal calendar. Parties
       may consent to proceed before a magistrate by filing a completed Form AO 85 “Notice,
       Consent, and Reference of a Civil Action to a Magistrate Judge,” which is available on the
       Court’s website under “Filing a Case/Forms/Civil Forms.” Consent is voluntary, and a
       party for any reason can decide not to consent and continue before the district judge
       without adverse consequences. See Fed. R. Civ. P. 73(b)(2).

  9.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be
       followed by the parties:

         (a)     A party’s claims or defenses for which summary judgment is sought shall be
                 presented in a single motion and incorporated memorandum of law which,
                 absent prior permission of the Court, shall not exceed twenty-five (25) pages
                 total. Multiple motions for summary judgment will not be permitted. A violation
                 of any of these directives will result in the Court sua sponte striking a party’s
                 motion for summary judgment and incorporated memorandum of law without
                 notice. Any record citations should be to page and line of the filed materials.

         (b)     Prior to filing a motion for summary judgment, the moving party shall confer
                 in good faith with the party or parties against whom summary judgment is
                 sought for the purpose of narrowing the factual issues in dispute. A party by
                 separate pleading filed contemporaneously with the motion for summary
                 judgment and incorporated memorandum of law shall certify that such a
                 conference has taken place and that the parties were or were not able to agree
                 on a narrowing of the factual issues in dispute. Unless the parties are in full
                 agreement as to the undisputed facts, the movant shall file a separate “Statement
                 of Undisputed Facts” (not exceeding 20 pages in length), with citations to the
                 record, which shall accompany the motion for summary judgment.

         (c)     Any party opposing a summary judgment motion shall file a memorandum of
                 law in opposition no later than the time allotted pursuant to Local Rule 3.01(c).
                 To the extent that the party opposing a motion for summary judgment disputes
                 any facts asserted in the motion, a separate “Statement of Disputed Facts”
                 (not exceeding 20 pages in length), with citations to the record, shall accompany
                 the memorandum in opposition. All material facts set forth by the moving party
                 shall be deemed admitted unless controverted by a separate Statement of
                 Disputed Facts.

         (d)     Failure to respond to a motion for summary judgment shall be deemed that the
                 non-moving party does not oppose the motion and may result in final judgment
                 being entered without a trial or other proceeding.

         (e)     Oral argument or hearings will generally not be held on the motion.

                                              3
Case 8:20-cv-02722-KKM-AAS Document 22 Filed 02/24/21 Page 4 of 5 PageID 87



         (f)     A violation of any of these directives will result in the Court sua sponte striking a
                 party’s motion for summary judgment without notice.

  10. For jury trials, not later than fourteen (14) days prior to the date on which the trial term
      is set to commence, the parties shall file the following:

         (a)     Proposed Jury Instructions: The parties must confer about the jury
                 instructions and submit to the Court: 1) all instructions that are undisputed; 2)
                 instructions proposed by the plaintiff but not acceptable to the defense; and 3)
                 instructions proposed by the defense but not acceptable to the plaintiff. A
                 complete set of all written Proposed Jury Instructions shall bear a cover sheet
                 with the complete style of the case and appropriate heading designating the
                 submitting party; there shall be no more than one instruction per page and
                 contain, at the end of each such instruction, citation of authorities; they shall be
                 sequentially numbered and party-identified (e.g., Plaintiff’s Requested
                 Instruction No. 1). Counsel must email proposed jury instructions and verdict
                 forms in Microsoft Word (.doc or .docx) format to the chambers inbox without
                 titles above each instruction or citations of authorities at the end of each
                 instruction. Include the case number and case name in the subject line;

         (b)     A concise (one paragraph preferably) joint statement of the nature of the action
                 to be used in providing a basic explanation of the case to the jury venire;

         (c)     Proposed Verdict Form; and

         (d)     Proposed Questions for Voir Dire: The court conducts the initial voir dire
                 examination and parties should submit all proposed questions by the above
                 deadline. Counsel may submit additional follow-up questions after the court
                 examines the jury venire, but counsel will ordinarily not be permitted to examine
                 potential jurors.

  11. For jury trials, each party may file a Trial Brief not later than fourteen (14) days prior
      to the date on which the trial term is set to commence. The brief should include citations
      of authorities and arguments specifically addressing all disputed issues of law likely to arise
      at trial.

  12. For bench trials, not later than fourteen (14) days prior to the date on which the trial
      term is set to commence, each party shall file with the Clerk of Court a Trial Brief
      containing Proposed Findings of Fact and Conclusions of Law along with citations
      of authorities and arguments specifically addressing all disputed issues of law likely to arise
      at trial. Each proposed finding of fact shall be separately stated in numbered paragraphs
      and shall contain a detailed listing of the relevant material facts the party intends to prove,

                                               4
Case 8:20-cv-02722-KKM-AAS Document 22 Filed 02/24/21 Page 5 of 5 PageID 88


      in a simple, narrative form. Each proposed conclusion of law shall contain a full
      exposition of the legal theories relied upon by counsel. After the conclusion of a bench
      trial, the court may allow the parties to file additional proposed findings of fact and
      conclusions of law. The proposed findings of fact and conclusions of law must be emailed
      to the chambers inbox in Microsoft Word (.doc or .docx) format.

  13. No later than 9:00 a.m. on the first day of trial, the parties shall provide to the Court an
      exhibit notebook containing marked copies of all exhibits. The parties may contact the
      courtroom deputy clerk to determine whether this requirement may be waived.

  14. SETTLEMENTS: Lead counsel (as designated above, Plaintiff’s counsel) shall
      immediately notify Chambers or the Courtroom Deputy Clerk if their case has settled.
      See Local Rule 3.09. Notices of settlement must be in writing.


  ORDERED in Tampa, Florida, on February 24, 2021.




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